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                        Cherry v. United States
                         2:15-cv-00236-GMS

                            EXHIBIT LIST

A.   Curriculum Vitae of Christopher Reardon, M.D.

B.   Deposition of Christopher Reardon, M.D., taken August 14, 2015
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                    EXHIBIT B
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     1   BY MR. CURTIN:                                                    1    knowing that I was treat¡ng with squamous cell carcìnoma
 2         Q. Okay. So if the cells reacted, that would be at              2    in situ, I would mention thai.
 )       least somewhat confirmatory of the diagnosis of squamous          3    BY MR. CURTIN:
 4       cell carcinoma ìn sltu?                                           4       Q. I guess what l'm trying to understand is what
 5         A. Well, that plus resolut¡on.                                  5    would you tell the pat¡ent to convince them to have a
 6         Q. And then therapeutic, we've already talked about             6    bìopsy of the head of their penis?
 7       your proposed treatment, which would have involved a              7             MR. SMART: Objection, foundation.
 B       longer period of Efudex in order to complete the theraþy?         I             You can answer.
 I         A. That's my sort of general protocol.                          u             THE WITNESS: I think it would help just
10         Q. Okay. Let me make sure l've got this right.                '10    to get a little bit more information.
11       You don't recall being there when Mr. Cheny declined the        11     BY MR. CURTIN:
12       biopsy?                                                         1a       Q. Would you talk to them about any risks of not
4a
IJ         A. I don't recall being there for that.                        IJ    getting the biopsy done?
14         Q And you don't know what Mr. Carbonniere                     14       A. Just primarily we would not know for sure what
15       explained to Mr. Cherry about the risks and benefits of         15     we were treating, although the response to Efudex does
16       the biopsy versus treatment with Efudex?                         lC)   help us in that way.
17         A. I'm not sure what he would - I wasn't there for            17        Q. Okay. Now, was Efudex FDA-approved for
1B       the conversation.                                               1B     treatment of squamous cell carcìnoma in situ in 2010?
19         Q. What would a reasonable and prudent                        '19       A. No. lt's off-label.
20       dermatologist tell a patient about biopsy versus Efudex?        20        O. ls that st¡ll true today?
21                 MR. SMART: Objection, calls for                       21        A. Yes.
))       speculation.                                                    22        O. ls that something that should be discussed with
         BY MR. CURTIN:                                                  ZJ     a patient that you're proposing to treat with Efudex?
24         O He doesn't think you know what a reasonable and                             MR. SMART: Objection, foundation.
')4      prudent dermatologist would say.                                25              You can answeÍ.


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     1             MR. SMART: Same objection.                              1             THE WITNESS: We've been using it for 30
 2       BY MR. CURTIN:                                                    2    to 40 years.
 3         Q. Can you answer my question, please?                          a
                                                                           J    BY MR. CURTIN:
 4             Well, let me lay a little foundation.                       4       Q. Okay. So do you tell patients it's
 5             I take it you've had conversations with patients            Ã    FDA-approved, or tell them it's not FDA-approved, or just
 6       about whether to have a b¡opsy of a lesion or proceed to          t)   not do that?
 7       treat it wìth topical treatment?                                  7       A. We generally don't do that.
 B         A. No.                                                          B       Q. What is the efficacy of Efudex for treatment of
 o         Q. You've never done that?                                      o    squamous cell carcinoma in situ?
10         A. What I - well, I would strongly encourage the              10              MR. SMART: Objection to form.
11       biopsy. lf they absolutely refused, I would need to try         11               You can answer.
12       to treat them with something until I could convince them.       12              THE WITNESS: They are what you find in
13       So I might do it under those circumstances, to start            13     the l¡terature, but my experience, it's been 100 percent.
14       something if they refused about doing a biopsy.                 14     BY MR. CURTIN:
15         Q. Okay. So one of the things that you would do as            15        Q. Okay. 100 percent of five cases?
t(]      a reasonable and prudent dermatologist is really strongly        to       A. lf we're talking about squamous cell carcinoma
17       encourage the patient to get the lesion bìopsied?               17     in situ of the penis, but I see squamous cell carcinoma
1B                 MR. SMART: Object to the form.                        1B     in situ on all areas of the body.
19                 THE WITNESS: Yes.                                     19        Q. What does the literature say about the efficacy
20       BY MR. CI.JRTIN:                                                20     of squamous cell carcinoma in situ treated with Efudex?
21         Q. And in service of that end, I take it you would            21        A. I think they repod - maybe it's, I don't know,
))       explain to them the potentiaì risks of squamous cell            22     somewhere between 30 to 40 percent in the literature.
IJ       carcinoma and squamous cell carcinoma in situ?                            Q. And what's the rate of recurrence for squamous
l4                 MR. SMART: Objection, foundation.                     24     cell carcinoma ìn situ treated with Efudex according to
25                 THE WITNESS: Under these circumstances                       the literature?


                                                                (Pages 46 to 49)                                                            IJ
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